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AO 245B (CASD Rev. 1/19) Judgment in a Criminal Case


                                        UNITED STATES DISTRICT COURT
                                          SOUTHERN DISTRICT OF CALIFORNIA
               UNITED STATES OF AMERICA                               JUDGMENT IN A CRIMINAL CASE
                                   V.                                 (For Offenses Committed On or After November 1, 1987)
            FRANCISCO AGUILAR-MARQUEZ (1)
                                                                         Case Number: 3:20-CR-03403-LAB

                                                                      Roxana Sandoval
                                                                      Defendant’s Attorney
USM Number                         55953-298
    _
☐
THE DEFENDANT:
☒ pleaded guilty to count(s)            1 of the Superseding Information

☐ was found guilty on count(s)
     after a plea of not guilty.
Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title and Section / Nature of Offense                                                                                   Count
18:1001(a)(2) - False Statement to Federal Officer (Felony)                                                              1s




    The defendant is sentenced as provided in pages 2 through                   3            of this judgment.
The sentence is imposed pursuant to the Sentencing Reform Act of 1984.
☐ The defendant has been found not guilty on count(s)
☒ Count(s) Underlying information                               is          dismissed on the motion of the United States.

☒ Assessment: $100.00
        _

☐ JVTA Assessment*: $
  -
        *Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
☒ No fine                      ☐ Forfeiture pursuant to order filed                                              , included herein.
       IT IS ORDERED that the defendant must notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
judgment are fully paid. If ordered to pay restitution, the defendant must notify the court and United States Attorney of
any material change in the defendant’s economic circumstances.

                                                                      November 1, 2021
                                                                      Date of Imposition of Sentence



                                                                      HON. LARRY ALAN BURNS
                                                                      UNITED STATES DISTRICT JUDGE
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DEFENDANT:                FRANCISCO AGUILAR-MARQUEZ (1)                                            Judgment - Page 2 of 3
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                                                  IMPRISONMENT
 The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for a total term of:
 60 months




 ☐     Sentence imposed pursuant to Title 8 USC Section 1326(b).
 ☒     The court makes the following recommendations to the Bureau of Prisons:
       WESTERN REGION DESIGNATION.




 ☐     The defendant is remanded to the custody of the United States Marshal.

 ☐     The defendant must surrender to the United States Marshal for this district:
       ☐     at                             A.M.              on
       ☐     as notified by the United States Marshal.

       The defendant must surrender for service of sentence at the institution designated by the Bureau of
 ☐
       Prisons:
       ☐     on or before
       ☐     as notified by the United States Marshal.
       ☐     as notified by the Probation or Pretrial Services Office.

                                                       RETURN

 I have executed this judgment as follows:

       Defendant delivered on                                            to

 at                                       , with a certified copy of this judgment.


                                                                   UNITED STATES MARSHAL



                                     By                    DEPUTY UNITED STATES MARSHAL



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  DEFENDANT:               FRANCISCO AGUILAR-MARQUEZ (1)                                     Judgment - Page 3 of 3
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                                             SUPERVISED RELEASE
Upon release from imprisonment, the defendant will be on supervised release for a term of:
3 years


                                    SPECIAL CONDITIONS OF SUPERVISION

      Do not enter the United States illegally.

      The defendant must not commit another federal, state or local crime.

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                                                                                             3:20-CR-03403-LAB
